Case 1:18-cv-00919-TNM-DAR
Case 1:15-cv-01505-BAH Document 53-29-2 Filed
                           Document       Filed06/28/18
                                                06/22/18 Page
                                                         Page 11 of
                                                                 of 55
Case 1:18-cv-00919-TNM-DAR
Case 1:15-cv-01505-BAH Document 53-29-2 Filed
                           Document       Filed06/28/18
                                                06/22/18 Page
                                                         Page 22 of
                                                                 of 55
Case 1:18-cv-00919-TNM-DAR
Case 1:15-cv-01505-BAH Document 53-29-2 Filed
                           Document       Filed06/28/18
                                                06/22/18 Page
                                                         Page 33 of
                                                                 of 55
Case 1:18-cv-00919-TNM-DAR
Case 1:15-cv-01505-BAH Document 53-29-2 Filed
                           Document       Filed06/28/18
                                                06/22/18 Page
                                                         Page 44 of
                                                                 of 55
Case 1:18-cv-00919-TNM-DAR
Case 1:15-cv-01505-BAH Document 53-29-2 Filed
                           Document       Filed06/28/18
                                                06/22/18 Page
                                                         Page 55 of
                                                                 of 55
